                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA
_______________________________________
                                            )
PHARMACEUTICAL CARE                         )
MANAGEMENT ASSOCIATION,                     )
                                            )
                                Plaintiff,  )
                                            )
v.                                          ) Civil Action No. CIV-19-977-J
                                            )
GLEN MULREADY,                              )
in his official capacity as                 )
Insurance Commissioner of Oklahoma, and the )
OKLAHOMA INSURANCE DEPARTMENT, )
                                            )
                                Defendants. )
______________________________________ )

                OPENING MEMORANDUM IN SUPPORT OF
          PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION1




1
  All statements made or offered by Pharmaceutical Care Management Association
(“PCMA”) are solely the statements of PCMA and only the express statements, if any, of
its members may be attributed to its individual members
                                               TABLE OF CONTENTS

TABLE OF AUTHORITIES .............................................................................................. iv

STATEMENT OF FACTS .................................................................................................. 2

         A.       PCMA and the PBM Market ......................................................................... 2

         B.       PBMs’ Core Services .................................................................................... 3

         C.       Prescription Drug Benefits in Oklahoma ...................................................... 4

         D.       The Act and Regulations ............................................................................... 5

                  1.       The Act’s “Network Restrictions” ..................................................... 5

                  2.       The Act’s “Claims Processing Provisions” ........................................ 7

                  3.       The Act’s “Health Insurer Obligations” ............................................. 7

                  4.       The Regulations.................................................................................. 7

         E.       The Act’s and Regulations’ Impact on PBMs ............................................... 8

                  1.       The Act and Regulations Limit PBMs’ Abilities to Lower Prices

                           and Offer Varied and Nationally Uniform Benefit Design ................ 8

                  2.       The Act and Regulations Impede PBMs’ Abilities to Ensure

                           Network Quality ................................................................................. 9

                  3.       The Act and Regulations Impose Oklahoma-Specific

                           Requirements on Nationwide Companies ........................................ 10

                  4.       Complying with the Act and Regulations Will Impose

                           Administrative and Financial Burdens on PBMs ............................. 10

STANDARD FOR PRELIMINARY INJUNCTION ....................................................... 10

                                                                 ii
ARGUMENT..................................................................................................................... 11

         A.        PCMA is Likely to Succeed on the Merits .................................................. 11

                   1.        ERISA Preempts the Act and Regulations ....................................... 11

                   2.        Medicare Part D Preempts the Act and the Regulations .................. 13

                   3.        The Regulations Violate the APA .................................................... 18

         B.        The Act and Regulations Irreparably Harm PCMA’s Members ................. 19

                   1.        Enforcing the Act and Regulations Will Force PBMs to

                             Fundamentally Restructure Their Business Models ........................ 19

                   2.        Enforcement Will Cause PBMs to Suffer Unrecoverable

                             Financial Harm and Incur Unrecoverable Administrative Costs ..... 21

                   3.        Enforcement Is Especially Harmful Given COVID-19 ................... 22

         C.        The Balance of Hardships Favors a Preliminary Injunction ....................... 23

         D.        The Public Interest Favors a Preliminary Injunction .................................. 23

                   1.        Enforcement Would Prevent PBMs from Responding

                             Effectively to the COVID-19 Crisis ................................................. 23

                   2.        Enforcement in General Contravenes the Public Interest ................ 25

CONCLUSION ................................................................................................................. 25

CERTIFICATE OF SERVICE .......................................................................................... 27




                                                                   iii
                                          TABLE OF AUTHORITIES

Cases

Arcadian Health Plan, Inc. v. Korfman,
  2010 U.S. Dist. LEXIS 133003 (D. Maine Dec. 14, 2010) .......................................... 15

Awad v. Ziriax,
  670 F.3d 1111 (10th Cir. 2012) .................................................................................... 11

Cal. Trucking Ass’n v. Becerra,
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  594 F.3d 742 (10th Cir. 2010) ................................................................................ 21, 23

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Do Sung Uhm v. Humana, Inc.,
  620 F.3d 1134 (9th Cir. 2010) ...................................................................................... 15

Egelhoff v. Egelhoff,
  532 U.S. 141 (2001) ...................................................................................................... 13

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   874 F.3d 1136 (10th Cir. 2017) .................................................................................... 11

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  482 U.S. 1 (1987) .......................................................................................................... 12

Fuller v. Norton,
  86 F.3d 1016 (10th Cir. 1996) ...................................................................................... 12


                                                                    iv
Gobeille v. Liberty Mut. Ins. Co.,
  136 S. Ct. 936 (2016) .................................................................................................... 12

Greater Yellowstone Coalition v. Flowers,
  321 F.3d 1250 (10th Cir. 2003) .................................................................................... 19

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  848 P.2d 48 (Okla. Ct. Civ. App. 1992) ....................................................................... 18

Metro. Life Ins. Co. v. Mass.,
  471 U.S. 724 (1985) ...................................................................................................... 12

Appellant Brief, PCMA v. Tufte,
  No. 18-2926, U.S. Court of Appeals for the Eighth Circuit (Nov. 29, 2018) .............. 14

Pharm. Care Mgmt. Ass’n v. District of Columbia,
  613 F.3d 179 (D.C. Cir. 2010) ...................................................................................... 12

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  891 F.3d 1109 (8th Cir. 2018) .......................................................................... 12, 15, 17

Rutledge v. Pharm. Care Mgmt. Ass’n,
  140 S.Ct. 812 (2020) ..................................................................................................... 12

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  463 U.S. 85 (1983) ........................................................................................................ 11

Teladoc, Inc. v. Tex. Med. Bd.,
   112 F. Supp. 3d 529 (W.D. Tex. 2015) ........................................................................ 20

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  897 F.2d 773 (5th Cir. 1990) ........................................................................................ 19

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Statutory Authorities

29 U.S.C. § 1024(b) ........................................................................................................... 13


                                                                     v
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36 O.S. § 6961(A)................................................................................................................ 5

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36 O.S. § 6962(B)(2) ........................................................................................................... 7

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36 O.S. § 6962(B)(4) ........................................................................................................... 6

36 O.S. § 6962(B)(5) ........................................................................................................... 6

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                                                                     vi
Rules and Regulations

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                                                                    vii
       Oklahoma’s Patient’s Right to Pharmacy Choice Act (“Act”) violates the

Supremacy Clause. The Act restricts the ability of pharmacy benefit managers (“PBMs”)

to deliver lower drug prices and high quality pharmacy benefit management services to

health plans covered by the Employee Retirement Income Security Act (“ERISA”) and

Medicare Part D and their beneficiaries. These federal statutes expressly preempt state

laws that have a connection with, or act with respect to, ERISA and Part D plans. For this

reason, the Act is preempted.

       The Act and its implementing emergency regulations (“Regulations”) took effect

in November, 2019, and defendants Glen Mulready and the Oklahoma Insurance

Department (“OID”) have now decided to enforce them.2 But enforcement of the Act and

Regulations – which also are preempted and violate Oklahoma’s Administrative

Procedures Act (“APA”) – will irreparably harm PBMs by subjecting them to state

regulation in an area of broad federal preemption, requiring them to restructure their

business models, and imposing on them unrecoverable financial and administrative costs,

all of which are exacerbated by the COVID-19 crisis. This harm outweighs any interest

the defendants might have in enforcing a statute preempted by federal law. Enforcement

would also harm the public by diverting PBMs’ resources away from responding to the

pandemic and toward complying with a law that will increase the cost of prescription




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  On November 5, 2019, the parties entered a stipulation in which the defendants agreed
to stay enforcement pending a final order from this court. See Dkt. 19. The defendants
expressed their intent to withdraw from the stipulation on April 7, 2020. See Dkt. 27.
                                                1
drugs in Oklahoma – at a time when people can least afford such increases. The court

should enjoin the defendants from enforcing the Act and Regulations.

                               STATEMENT OF FACTS

       A.     PCMA and the PBM Market

       Plaintiff Pharmaceutical Care Management Association (“PCMA”) is the national

trade organization representing sixteen PBMs. PCMA’s members manage prescription

drug benefits for their customers: health plans including ERISA-covered employee

benefit plans, Medicare Part D plans, and commercial health insurance plans across the

country. Ex. 1: Declaration of Kim A. Caldwell (“Caldwell”) ¶ 32. Many plans operate in

multiple states, including Oklahoma. Id. ¶ 35; Ex. 2: Declaration of Adam Stacy

(“Stacy”) ¶¶ 2, 4; Ex. 3: Declaration of Brian Correia (“Correia”) ¶¶ 2, 7; Ex. 4:

Declaration of Mari Conlin (“Conlin”) ¶¶ 2, 6; Ex. 5: Declaration of James R. Johnson

(“Johnson”) ¶¶ 1, 5.

       When a health plan beneficiary– a worker, their family member, or a senior – fills

a prescription, the transaction results from pre-existing contracts among at least five key

players: pharmacies (or pharmacy services administrative organizations – “PSAOs” –

working on their behalf), wholesalers, manufacturers, PBMs, and health plans.

Pharmacies purchase drugs from wholesalers, who, in turn, purchase drugs from

manufacturers. Pharmacies then dispense those drugs to beneficiaries of health plans

serviced by PBMs, and the pharmacy is reimbursed by the PBM or beneficiary or some

combination thereof. Caldwell ¶¶ 23-32. Some prescription drug benefit plans include

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cost-sharing, such as co-insurance or a deductible, where the beneficiary pays a price that

is some portion of the price charged to the health plan, by the pharmacy, through the

PBM. Id ¶ 48.

       B.     PBMs’ Core Services

       The PBM business model includes several core services, at least four of which are

affected by the Act. First, PBMs contract with retail pharmacies across the country to

create pharmacy networks on health plans’ behalf. Networks are groups of pharmacies

that agree to fill beneficiaries’ prescriptions using their pharmacy benefits. Caldwell ¶ 31.

In exchange for network membership, pharmacies agree to accept certain reimbursements

from plans and cost-sharing from beneficiaries. Id. ¶¶ 38, 41. PBMs contract to create

various networks to offer their customers many plan design options. For example, open

networks have large numbers of pharmacies that generally require higher copays and

reimbursements. Preferred networks have fewer pharmacies, but beneficiaries filling

prescriptions at those pharmacies will pay lower or fewer copays, and plans will

generally pay lower reimbursements (which also results in lower cost-sharing for

beneficiaries). Id. ¶¶ 41-42; Conlin ¶ 14. Preferred pharmacies agree to these lower

reimbursements in exchange for higher sales volumes, which PBMs incentivize by

offering those discounts. Caldwell ¶ 42; Conlin ¶ 15. Generally, health plan beneficiaries

have access to the same pharmacy networks regardless of their home state. Caldwell ¶ 35.

       Second, PBMs offer disease management and medication adherence programs,

including for beneficiaries who suffer from complex, chronic, or rare diseases requiring

                                                 3
specialty drugs. Specialty pharmacies staffed by highly skilled and experienced

pharmacists are a critical tool for these disease management services, because such

pharmacies support patients in many ways beyond dispensing drugs. Id. ¶ 45. Specialty

pharmacies are frequently mail-order pharmacies. Id.

       Third, PBMs process beneficiaries’ prescription drug claims in real-time and at the

point of sale using technology and proprietary drug pricing formulas to support

prescription reimbursement claims and fulfillment. Id. ¶ 46; Conlin ¶ 17. PBMs may

reduce the payment on a claim post-adjudication if there was an error or based on the

pharmacy’s failure to meet certain performance standards, such as patient adherence

goals. Caldwell ¶ 49.

       Fourth, PBMs perform customer service functions for beneficiaries. These include

informing them about their benefits and where they can obtain them.

       PBMs can perform each function in different ways, tailored to health plans’ and

beneficiaries’ needs. Their unique services differentiate PBMs and make their services

valuable. See, e.g., Conlin ¶ 13.

       C.     Prescription Drug Benefits in Oklahoma

       PBM customers include self- and fully-insured health plans covering beneficiaries

who reside or buy drugs in Oklahoma. Of 3.9 million residents, about 3.4 million




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Oklahomans are covered by public or private insurance.3 Approximately 1.7 million have

employment-based health benefit plans.4 In addition, over 500,000 Oklahomans, mostly

seniors, receive prescription drug benefits through the Medicare program.5

       D.     The Act and Regulations

       The Act regulates PBMs and health insurers, and has several key impacts.

Overall, it restricts PBMs’ networks and PBMs’ claims processing functions in a manner

that will increase the cost of prescription drug coverage and leave health plans with fewer

choices for designing that coverage. The Regulations magnify the Act’s effects, and

provide that the Act applies to specialty drugs.

              1.     The Act’s “Network Restrictions”

     Each standard and preferred pharmacy network must be designed so that a certain

       percentage of network beneficiaries lives within a set geographical distance from

       at least one network pharmacy. Retail pharmacies, but not mail-order pharmacies,

       count toward these access standards. 36 O.S. § 6961(A)-(B) (the “Retail-Only

       Pharmacy Access Standards”).




3
  Kaiser Family Foundation, “Health Insurance Coverage of Nondelderly 0-64,”
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  Id.
5
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12, 2020).
                                                5
 PBMs must allow any willing pharmacy to participate in the PBM’s preferred

   network if that pharmacy agrees to that network’s terms and conditions. 36 O.S. §

   6962(B)(4) (the “Any Willing Provider Provision”).

 PBMs may not deny, limit, or terminate pharmacy contracts because a pharmacist

   employed by the pharmacy is on probation with the State Board of Pharmacy. 36

   O.S. § 6962(B)(5) (the “Probation-Based Pharmacy Limitation Prohibition”).

 The three “Beneficiary Direction Provisions,” restrict PBMs from directing

   beneficiaries to certain pharmacies:

      o PBMs may not require beneficiaries to use pharmacies directly or indirectly

          owned by the PBM (i.e., an affiliated pharmacy). 36 O.S. § 6961(C)

          (“Affiliated Pharmacy Requirement Prohibition”).

      o If a PBM lists one pharmacy on promotional materials, then it must list all

          pharmacies “participating in the preferred and nonpreferred pharmacy and

          health networks.” 36 O.S. § 6961(D) (the “Promotional Materials

          Provision”).

      o PBMs may not give beneficiaries incentives, such as discounts, to buy

          drugs at particular pharmacies. 36 O.S. § 6963(E) (the “Beneficiary

          Incentive Prohibition”).




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          2.     The Act’s “Claims Processing Provisions”

 PBMs may not charge pharmacies service fees relating to the adjudication of a

   claim. 36 O.S. § 6962(B)(2) (the “Service Fee Prohibition”).

 The reimbursements PBMs pay to un-affiliated pharmacies must match those it

   pays to affiliated pharmacies on a unit-to-unit basis. 36 O.S. § 6962(B)(3) (the

   “Affiliated Pharmacy Price Match”).

 PBMs may not, post-sale, reduce the price paid to a pharmacy for a covered

   claim, or deny reimbursement, except in cases of fraud, or errors uncovered in an

   audit. 36 O.S. § 6962(B)(6) (the “Post-Sale Price Reduction Prohibition”).

 PBMs must pay terminated network pharmacies outstanding claims upon

   termination. 36 O.S. § 6962(B)(7) (the “Termination Payment Requirement”).

          3.     The Act’s “Health Insurer Obligations”

 Health insurers must monitor all activities carried out by, or on behalf of, the

   health insurer under the Act, and those with whom the health insurer contracts. 36

   O.S. § 6963(A)-(B) (the “Health Insurer Monitoring Requirement”).

          4.     The Regulations

 Health insurers must approve all contracts used by its contracted PBMs and retail

   pharmacy networks to ensure compliance with the Act. Okla. Admin. Code §

   365:25-29-9(c)(1) (the “Contract Approval Rule”).

 The Act applies to specialty drugs. Okla. Admin. Code § 365:25-29-7.1(a)(2) (the

   “Specialty Drug Rule”).

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    If PBMs list one pharmacy on its promotional material, then it must list all

       pharmacies on that material. Okla. Admin. Code § 365:25-29-7.1(a)(3) (the

       “Promotional Materials Rule”).

       E.     The Act’s and Regulations’ Impact on PBMs

              1.     The Act and Regulations Limit PBMs’ Abilities to Lower Prices and
                     Offer Varied and Nationally Uniform Benefit Design

       PBMs currently have several methods for lowering costs and offering varied plan

design. The Act limits PBMs’ ability to use these methods. First, the Network

Restrictions weaken PBMs’ ability to offer sales volume to preferred pharmacies in

exchange for lower costs. The Any Willing Provider Provision opens up preferred

networks to more pharmacies, and the Beneficiary Direction Provisions prevents PBMs

from incentivizing plan beneficiaries to use given pharmacies. Caldwell ¶ 55. Together,

these provisions undo the purpose of preferred networks (offering high-quality, lower

cost prescription drug benefits from a limited number of pharmacies). Id.

       Second, PCMA reads the Act, combined with the Specialty Drug Rule, to prevent

PBMs from offering disease management services through restricted networks of

specialty pharmacies. Specialty-only networks are limited to pharmacies experienced in

providing drugs that require special handling; maintain adequate inventory of high-cost

specialty medication to ensure timely dispensing; and offer coordination of care for

individuals with complex, chronic, and/or rare diseases that can result in better outcomes

and long-term savings. Id. ¶ 45; Conlin ¶ 42. Yet, the Emergency Rule appears to apply


                                                8
the Retail-Only Pharmacy Access Standards to specialty networks, making them

impossible to maintain because specialty pharmacies are typically mail order only.

Caldwell ¶ 45. Thus, PBMs will no longer be able to offer these services to health plans

with beneficiaries needing specialty drugs and cost-effective management.

       Third, the Claims Adjustment Prohibitions prevent PBMs from using their

standard drug reimbursement processes, including reducing reimbursement post-

processing, and recouping the costs of their services. Id. ¶¶ 59-60.

              2.     The Act and Regulations Impede PBMs’ Abilities to Ensure
                     Network Quality

       PBMs ensure quality pharmacy service in several ways impeded by the Act and

Regulations, including by requiring quality standards in pharmacy network contracts, and

encouraging beneficiaries that need specialty drugs to go to specialty pharmacies.

Caldwell ¶ 7. As described above, the Network Restrictions limit PBMs’ abilities to offer

volume in exchange for favorable contractual terms, including quality standards. The Act

and Regulations also weaken PBMs’ abilities to direct beneficiaries to specialty

pharmacies for high-quality disease management services. Id. ¶ 62.

       As well, the Act prevents PBMs from terminating or limiting the contracts of

pharmacies whose employees have been sanctioned by the Oklahoma Board of

Pharmacy, prohibits them from imposing qualitative performance standards using post-

sale price concessions, and prevents them from tailoring written communications with

beneficiaries concerning specific pharmacies. Id. ¶¶ 59, 63, 67.


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              3.     The Act and Regulations Impose Oklahoma-Specific Requirements
                     on Nationwide Companies

       PBMs offer uniform services to plans with beneficiaries without regard to state

lines. Since beneficiaries from other states fill prescriptions in Oklahoma, their benefits

will change when they cross state lines. For example, if they were able to access

preferred network pricing in their home state, they would not be able to access it in

Oklahoma. Caldwell ¶ 57.

              4.     Complying with the Act and Regulations Will Impose
                     Administrative and Financial Burdens on PBMs

       Complying with the Act will require PBMs to renegotiate contracts with health

plans and pharmacies. Doing so will impose administrative burdens on PBMs. Caldwell ¶

56. In addition, because the Act is Oklahoma-specific, the Act will subject PBMs to the

ongoing burden of having to simultaneously comply with Oklahoma and non-Oklahoma

regimes. Conlin ¶ 49; Correia ¶ 45; Johnson ¶ 40; Stacy ¶ 23.

       The Act will also cost PBMs financially because it limits PBM revenue sources by

prohibiting post-case price concessions and pharmacy service fees. Caldwell ¶¶ 59-60. It

also imposes costs, including by requiring PBMs to redesign and reprint beneficiary

communications. Id. ¶ 67.

                   STANDARD FOR PRELIMINARY INJUNCTION

       A party seeking a preliminary injunction must show: “(1) the movant is

substantially likely to succeed on the merits; (2) the movant will suffer irreparable injury

if the injunction is denied; (3) the movant’s threatened injury outweighs the injury the

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opposing party will suffer under the injunction; and (4) the injunction would not be

adverse to the public interest.” First Western Capital Mgmt. v. Malamed, 874 F.3d 1136,

1141 (10th Cir. 2017) (citation omitted). A movant that seeks a preliminary injunction

that maintains the status quo bears a lesser burden than one who seeks to disrupt that

status quo. See, e.g., Awad v. Ziriax, 670 F.3d 1111, 1125 (10th Cir. 2012).

       PCMA satisfies the requirements for a preliminary injunction. In addition, a

preliminary injunction will maintain the status quo of non-enforcement of the Act and

Regulations. Thus, this Court should preliminarily enjoin Defendants from enforcing the

Act and Regulations.

                                      ARGUMENT

       A.     PCMA is Likely to Succeed on the Merits

       PCMA is likely to succeed on the merits because the Act and Regulations are

preempted by ERISA and Medicare Part D and the Regulations violate the APA.

              1.     ERISA Preempts the Act and Regulations

       ERISA preempts “any and all State laws insofar as they may now or hereafter

relate to any employee benefit plans.” 29 U.S.C. § 1144(a). A state law “relates to” an

employee benefit plan “if it has a connection with . . . such a plan.” Shaw v. Delta Air

Lines, Inc., 463 U.S. 85, 90 (1983). A law has a “connection with” a plan if it interferes




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with nationally uniform plan administration or governs a central matter of plan

administration. Gobeille v. Liberty Mut. Ins. Co., 136 S. Ct. 936, 943 (2016).

       ERISA preemption is broad, and does not require any conflict between the state

law at issue and ERISA’s substantive terms. See Metro. Life Ins. Co. v. Mass., 471 U.S.

724, 737 (1985) (“ERISA's broad pre-emption provision was intended to pre-empt any

state law that ‘[related] to’ an employee-benefit plan, not merely those state laws that

directly conflicted with a substantive provision in the federal statute.”). It also applies to

laws that “only indirectly affect ERISA plans.” Fuller v. Norton, 86 F.3d 1016, 1020

(10th Cir. 1996).

       ERISA preempts PBM-regulating laws. In Gobeille, the Supreme Court held that

ERISA preempts laws that apply to third-party administrators. See Gobeille, 136 S. Ct. at

941-42. Courts both before and after Gobeille have held that this applies to PBMs. See

Pharm. Care Mgmt. Ass'n v. District of Columbia, 613 F.3d 179, 185-86 (D.C. Cir.

2010); Pharm. Care Mgmt. Ass'n v. Rutledge, 891 F.3d 1109, 1112-13 (8th Cir. 2018)

(cert granted, 140 S. Ct. 812, argument pending).

       For several reasons, the Act and Regulations interfere with nationally uniform plan

administration by creating a “patchwork scheme of regulation.” Fort Halifax Packing Co.

v. Coyne, 482 U.S. 1, 11 (1987). The Network Restrictions require PBMs to structure

networks, and provide disease management services, differently in Oklahoma than

elsewhere. The Network Restrictions and Affiliated Pharmacy Price Match require PBMs

to change their pricing methodologies in Oklahoma. Finally, the Promotional Material

                                                  12
Provision and Rule impermissibly require PBMs to make Oklahoma-specific versions of

any material that mentions any provider. ERISA expressly describes the information

plans must provide their members, such as summary plan descriptions. See 29 U.S.C. §

1024(b). Thus, the Tenth Circuit has held that ERISA preempts state laws requiring

disclosures to beneficiaries. David P. Coldesina, D.D.S., P.C., Empl. Profit Sharing Plan

& Trust v. Estate of Simper, 407 F.3d 1126, 1136 (10th Cir. 2005).

       The Act also interferes with central matters of plan administration. First, as

described above, it changes how benefits are calculated and paid, requiring new methods

for doing so. Changing the way benefits are calculated and paid interferes with plan

administration. See Egelhoff v. Egelhoff, 532 U.S. 141, 148 (2001). Therefore, ERISA

preempts laws that do so.

       Second, the Network Restrictions and Specialty Drug Rule also curtail PBMs’

abilities to differentiate their networks. These provisions will destroy preferred networks,

prevent PBMs from ensuring that beneficiaries are treated by qualified pharmacists,

impair disease management programs, and artificially increase retail pharmacies’

negotiating leverage. Together, these provisions shrink the menu of benefits PBMs can

offer plans and beneficiaries, and prevent plans from containing certain terms. Thus, they

“regulat[e] the type of benefits or terms of ERISA plans,” David P. Coldesina, 407 F.3d

at 1136, and are preempted.

              2.     Medicare Part D Preempts the Act and the Regulations



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       Medicare Part D provides government sponsored prescription drug benefits for

Medicare beneficiaries, including people age 65 and older and certain others with

disabilities. Pub. L. No. 108-173 §101, 117 Stat. 2066, 2071-2152 (Dec. 8, 2003) (the

Medicare Prescription Drug, Improvement, and Modernization Act of 2003 or the

“MMA”). In creating Medicare Part D, Congress established a comprehensive statutory

and regulatory scheme that balances cost to the government and beneficiaries with access

via “a market-based model under which marketplace competition ensures that enrollees

receive low prices for prescription drugs.” 70 Fed. Reg. 4194, 4244.

                     a.     Congress Intended to Broadly Preempt State Interference
                            with Part D Plans

       Medicare Part D’s preemption provision is broad in order to further Congress’s

goal to permit marketplace competition to achieve low prices for beneficiaries:

       “The standards established under this part shall supersede any State law or
       regulation (other than State licensing laws or State laws relating to plan solvency)
       with respect to [Part D plans] which are offered by [Part D sponsors] under this
       part.”

42 U.S.C. §1395w-26(b)(3) (emphasis added). 42 U.S.C. § 1395w-112(g) (incorporating

the Medicare Part C preemption provision into Medicare Part D).

       While no appellate Court has yet considered the full breadth of Medicare

preemption,6 this Court need not determine the boundaries of Medicare Part D



6
  In its brief to the U.S. Court of Appeals for the Eighth Circuit in PCMA v. Tufte, No.
18-2926, PCMA has asked the Eighth Circuit to confirm that Medicare Part D preempts
state laws that act with respect to Medicare Part D plans, regardless of the presence of a
related federal standard. The Eighth Circuit has yet to decide that case.
                                                  14
preemption to decide this case. Appellate courts that have considered Part D preemption

have found preemption when “(1) Congress or the Centers for Medicare and Medicaid

Services (CMS) has established ‘standards’ in the area regulated by the state law; and (2)

the state law acts ‘with respect to those standards.’” Rutledge, 891 F.3d at 11137; see also

Do Sung Uhm v. Humana, Inc., 620 F.3d 1134, 1148 n. 20 (9th Cir. 2010) (state law

claims preempted where they acted with respect to Medicare standards).8 “Conflict

between the state law and the federal standard is unnecessary.” Rutledge, 891 at 1113. If

the state law in question merely acts with respect to the standard, it is preempted. See

Arcadian Health Plan, Inc. v. Korfman, 2010 U.S. Dist. LEXIS 133003 (D. Maine Dec.

14, 2010) (state may not avoid preemption through “indirect” regulation “with respect to

areas addressed by the federal [Medicare] standards,” or by “artful legislating to ignore

the federal standards”).

                     b.     The Act Acts With Respect to Medicare Part D Standards

       The Act acts with respect to at least eight different Medicare Part D standards. In

each of these instances, the Act includes requirements for Part D plans in areas where

Congress and CMS have already spoken. Further, while not necessary for purposes of

preemption, the Act conflicts with several of these federal standards.




7
  Arkansas’s petition for certiorari did not ask the Supreme Court to review the Eighth
Circuit’s holding that the Arkansas statute was preempted by Medicare Part D.
8
  A standard within the meaning of the preemption provision is either a statutory
provision or a duly promulgated and published regulation. Uhm, 620 F.3d at 1148 n. 20.

                                                15
 Medicare Part D has a Preferred Pharmacy Network Standard, which expressly

    permits the use of preferred pharmacy networks. 42 C.F.R. §423.120(a)(9). The

    Network Restrictions act with respect to this standard by restricting the use of

    preferred pharmacy networks.

 Medicare Part D has a Pharmacy Access Standard that dictates the geographic

    dispersion of brick-and-mortar pharmacies in a Part D Plan’s pharmacy network. 42

    C.F.R. §423.120(a). The Retail-Only Pharmacy Access Standard acts with respect to

    this standard by adding requirements to those set by CMS.9

 Medicare Part D has its own Any Willing Provider Standard for standard, non-

    preferred networks only. 42 C.F.R. §423.120(a)(8). By requiring a PBM to permit a

    pharmacy into its more limited preferred pharmacy network, the Act’s Any Willing

    Provider Requirement conflicts with that standard.

 Part D beneficiaries must have access to prices negotiated between the PBM and the

    network pharmacy. 42 U.S.C. §1395w-102(d) (the Negotiated Price Standard); 42

    C.F.R. §§ 423.100 & 423.104(g). The Affiliated Pharmacy Price Match and the Post-

    Sale Price Reduction Prohibition replace the negotiated price between the PBM and

    the pharmacy with either the price paid by a PBM to an affiliated pharmacy or the




9
  In addition, CMS has articulated when the federal Pharmacy Access Standard does not
apply to specialty drugs. CMS Medicare Prescription Drug Benefit Manual, ch. 5, 50.3.
As such, the Specialty Drug Rule and the Beneficiary Direction Provisions also act with
respect to this standard.
                                               16
   price originally paid at the point of sale. See Rutledge, 891 F.3d at 1113 (MMA

   preempted state law that “effectively replaces the negotiated […] price”).

 Medicare Part D standards ensure that the amount a Part D sponsor pays a pharmacy

   is the product of a market-based negotiation free from government interference. See

   42 U.S.C. §1395w-111(i) (non-interference clause); 42 U.S.C. §1395w-26(b)(3) (pre-

   emption of state law). The Service Fee Prohibition acts with respect to these standards

   because it restricts this negotiation by prohibiting the use of any price structure in

   which a pharmacy pays a fee related to the adjudication of a claim.

 Medicare Part D requires Part D sponsors to assert that network providers are in

   compliance with state pharmacy laws. 42 C.F.R. §423.153(c) (the Quality Assurance

   Standard). By restricting how a PBM may respond when a network pharmacy

   employs a suspended pharmacist, the Pharmacy Termination Prohibition and the

   Terminated Pharmacy Payment Provision act with respect to this standard.

 The Part D sponsor “retains the right to approve, suspend, or terminate” a PBM’s

   selection of network pharmacies. 42 C.F.R. §423.505(i)(5). The Health Insurer

   Monitoring Requirement and the Contract Approval Rule act with the respect to the

   federal standards by adding new monitoring requirements for Part D sponsors.

 Medicare has a Communications and Marketing Materials Standard that regulates

   which pharmacies a PBM may include on ID cards and other materials. 42 C.F.R.

   §423.2262. The Promotional Materials Provision acts with respect to this standard by

   regulating the content of the same materials.
                                                 17
              3.     The Regulations Violate the APA

       The Oklahoma Administrative Procedure Act places the burden on the state to

show “that the rule is consistent with any statute authorizing or controlling its issuance

and does not exceed statutory authority.” 75 Okl. St. § 306(C)(2). Oklahoma courts

generally do not grant deference to agencies’ statutory interpretation: they “decide

questions of law and do not defer to agency interpretation of the Constitution or the

statutes.” Metcalf v. Okla. Bd. of Med. Licensure & Supervision, 848 P.2d 48, 50 (Okla.

Ct. Civ. App. 1992) (overruled in part on other grounds, 2000 OK 45 (2000)).

       The Promotional Materials Rule is inconsistent with the Promotional Materials

Prohibition because it copies part of the Prohibition but leaves out a significant qualifying

clause: “participating in the preferred and nonpreferred pharmacy and health networks.”

Compare 36 O.S. §6961(D) with Okla. Admin. Code § 365:25-29-7.1(a)(3). The Contract

Approval Rule appears to require each health insurer that contracts with a PBM to

approve every contract a PBM enters into. But the statute requires health insurers merely

to “monitor” the activities of those with which they contract and “ensur[e] that the

requirements of this act are met.” 36 O.S. 6963(B). The Specialty Drugs Rule arbitrarily

applies the Act to specialty drugs even though specialty drug management differs greatly

from standard drug management. Caldwell ¶ 45. The regulations justify this application

because, they say, “[t]he act draws no distinction between regular or specialty drugs.”

Okla. Admin. Code 365:25-29-7.1. This is false. One provision does draw that

distinction. See 36 O.S. 6961(C).

                                                 18
       B.     The Act and Regulations Irreparably Harm PCMA’s Members

       “An irreparable harm requirement is met if a plaintiff demonstrates a significant

risk that he or she will experience harm that cannot be compensated after the fact by

monetary damages.” Greater Yellowstone Coalition v. Flowers, 321 F.3d 1250, 1258

(10th Cir. 2003) (internal quotation marks omitted) (emphasis removed). This harm must

not be speculative. See id. Enforcing the Act and Regulations would irreparably harm

PBMs because it would subject them to multiple regulators, force them to restructure

their business models, and cause them unrecoverable financial and administrative costs.

       Being subject to multiple regulators in violation of the Supremacy Clause has been

held to cause irreparable harm. See Trans World Airlines v. Mattox, 897 F.2d 773, 783-84

(5th Cir. 1990) (state law regulating the airline industry that was likely preempted caused

irreparable harm). This is especially so given the breadth of ERISA and Medicare Part D

preemption. Enforcement causes PBMs irreparable harm for that reason alone. The Act

irreparably harms PBMs in other ways as well.

              1.     Enforcing the Act and Regulations Will Force PBMs to
                     Fundamentally Restructure Their Business Models

       Where a law requires an industry to change its business model, those changes can

constitute irreparable harm. Although the Tenth Circuit has not addressed the issue,

courts in other jurisdictions have found irreparable harm when complying with a state

law would force the plaintiff to change its business model. See, e.g., Cal. Trucking Ass'n

v. Becerra, 2020 U.S. Dist. LEXIS 7707, at *31-32 (S.D. Cal. Jan. 6, 2020) (trucking


                                                19
companies irreparably harmed by law that would reclassify drivers from independent

contractors to employees because law would require them to “significantly restructure

their business model”); Teladoc, Inc. v. Tex. Med. Bd., 112 F. Supp. 3d 529 (W.D. Tex.

2015) (law prohibiting telehealth services without preliminary in-person visit irreparably

harms telehealth physicians by causing “destruction of a business model”).

       Enforcement will require PBMs to change their core services in Oklahoma. PBMs

influence price and quality by offering wide arrays of networks and services, including

preferred networks and disease management services. They have also developed

innovative propriety methods, which apply nationwide, for determining drug pricing

based on the existence of these networks. Enforcement would require PBMs to

fundamentally change how they control and calculate prices. Specifically:

    The Network Restrictions and Specialty Drug Rule will prevent PBMs from

       offering preferred networks and disease management services. Caldwell ¶¶ 55, 62.

    The Claims Processing Provisions inhibit PBMs and pharmacies from agreeing to

       funding arrangements where pharmacies pay PBMs administrative fees. Conlin ¶

       41; Correia ¶ 47; Johnson ¶ 34; Stacy. ¶ 25.

    The Affiliated Pharmacy Price Match requires PBMs that do not calculate pricing

       on a unit by unit basis to start doing so. Caldwell ¶ 59.

    The Pharmacy Termination Prohibition prevents PBMs from guaranteeing

       beneficiaries treatment by pharmacists who provide high quality services. Id. ¶ 63.



                                                 20
               2.       Enforcement Will Cause PBMs to Suffer Unrecoverable Financial
                        Harm and Incur Unrecoverable Administrative Costs

        Financial harm is irreparable when sovereign immunity prevents the plaintiff from

recovering money damages from the state. See Crowe & Dunlevy, P.C. v. Stidham, 640

F.3d 1140, 1157 (10th Cir. 2011). The amount of the financial loss does not matter; what

matters is simply that it is irreparable. See Wilson v. Amoco Corp., 989 F. Supp. 1159,

1177 (D. Wyo. 1998). Unrecoverable administrative costs of compliance also support a

finding of irreparable harm. See Chamber of Commerce of the United States v.

Edmondson, 594 F.3d 742, 756, 770-71 (10th Cir. 2010). PBMs will be harmed

financially and administratively in a number of ways:

      PBMs will have to renegotiate contracts with pharmacies or PSAOs to comply

        with the Act. Conlin ¶ 48; Correia ¶ 44; Johnson ¶ 39; Stacy ¶ 11. Negotiating

        PBM-pharmacy contracts can take up to a year, and each negotiation has

        significant costs.10 Caldwell ¶ 56.

      The Act’s changes to networks and payment terms will also require PBMs to

        renegotiate health plan contracts. Conlin ¶ 30; Johnson ¶¶ 39, 40; Stacy ¶ 11;

        Correia ¶ 44.




10
  For example, Prime Therapeutics LLC estimates that it will have to renegotiate over
900 agreements. Each such negotiation could take up to 40 hours to complete. Conlin ¶
31.
                                              21
    The Promotional Material Provision will require PBMs to alter every piece of

       written material that refers to a pharmacy, hospital, or other health provider.

       Caldwell ¶ 67.

    The Service Fee Prohibition eliminates a revenue source from PBMs, ranging

       from $35,000 to $200,000 per month depending on the PBM. Stacy ¶ 25; Correia ¶

       47; Conlin ¶ 41.

              3.     Enforcement Is Especially Harmful Given COVID-19

       PBMs, like all businesses, are affected by COVID-19. They have suffered from an

abrupt transition to remote work, the elimination of childcare and elder care for

employees, resignations, and FMLA requests. Conlin ¶ 21; Johnson ¶¶ 21-22; Stacy ¶ 28;

Correia ¶ 26. Many of these problems will persist when work restrictions are relaxed.

Social distancing will remain a priority, limiting both employees’ opportunities to return

to the office and available care for family members.

       Moreover, PBMs and health plans are at the front lines of responding to COVID-

19. PBMs have done much in a short period of time to implement public health-conscious

measures to ensure prescription drug accessibility during the crisis.

       Given PBMs’ internal structures, the very employees responding to the COVID-19

crisis would be tasked with complying with the Act. Caldwell ¶ 8. PBMs cannot do both

without being overwhelmed in an unprecedented manner. Id. Thus, they will risk

inhibiting their responses to the public health crisis in order to comply with this law. This

harm is irreparable and unnecessary.

                                                 22
       C.     The Balance of Hardships Favors a Preliminary Injunction

       Enforcement would irreparably harm PCMA’s members, while maintaining the

status quo would cause the defendants no harm at all. First, as a legal matter, defendants

have no interest in enforcing preempted state laws like the Act. See Edmondson, 594 F.3d

at 771. Second, defendants’ repeated decisions to continue to stay enforcement – when

the Act came into effect, between the start of the COVID-19 outbreak and the

postponement of the Rutledge oral argument, and during the pendency of this motion –

belies any suggestion that enforcement is necessary to protect a pressing state interest.

The balance of hardships thus tilts in PCMA’s favor.

       D.     The Public Interest Favors a Preliminary Injunction

       Enforcing the Act and Regulations would hinder PBMs’ response to COVID-19

and lower the quality and cost of services PBMs can provide beneficiaries. It thus

contravenes the public interest.

              1.     Enforcement Would Prevent PBMs from Responding Effectively to
                     the COVID-19 Crisis

       Given their centrality to prescription drug distribution, PBMs are integral to the

collective response to the COVID-19 crisis. PBMs have facilitated COVID-19 treatment,

maintained access to non-COVID-19-related health care, and facilitated CDC-

recommended practices like social distancing, through the following time-consuming

measures, each of which applies to beneficiaries filling prescriptions in Oklahoma:




                                                23
      Allowed access to out-of-network pharmacies where access to in-network

        pharmacies may be limited.

      Taken several measures to minimize face-to-face interactions among beneficiaries

        and pharmacies, including by facilitating mail-order service.

      Monitored supply chains to ensure beneficiaries’ uninterrupted access to

        prescription drugs in the face of drug hoarding.

      Added quantity limits to certain in-demand drugs to prevent shortages. Conlin ¶¶

        19-20; Correia ¶¶ 23-24; Stacy ¶ 27; Johnson ¶¶ 19-20.

        PBMs are facing workforce challenges caused by the pandemic, and the same

employees who are responding to COVID-19 would also be responsible for complying

with the Act and Regulations. This double duty could impede PBMs’ response to

COVID-19, to the detriment of public health. In addition, the Act’s increased costs to

beneficiaries would be magnified given the economic consequences of the pandemic.

        Enforcement now is unnecessary. Contrary to what the defendants have suggested

in other filings, none of the Act’s provisions will enhance the response by PBMs or

pharmacies to the pandemic. Indeed, the OID has released and amended a bulletin

recommending PBMs take measures like those described above.11 This bulletin, unlike

the Act and Regulations, is tailored to the pandemic.



11
  Oklahoma Insurance Department, “LH BULLETIN NO. 2020-02 (AMENDED)” (Apr.
29, 2020), https://www.oid.ok.gov/lh-bulletin-no-2020-02-amended/ (last accessed May
13, 2020).
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              2.     Enforcement in General Contravenes the Public Interest

       Even apart from COVID-19, enforcement would harm the public because of the

Act’s and Regulations’ adverse impacts on beneficiaries, including the increased

prescription drug costs (particularly for beneficiaries who have cost-sharing or deductible

obligations), the reduction in quality assurance measures, and the impairment to disease

management programs.

                                     CONCLUSION

       For the foregoing reasons, the court should grant PCMA’s motion for preliminary

injunction.

                                   Respectfully submitted,


                                   PHARMACEUTICAL CARE
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                                               25
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Dated: May 13, 2020




                                26
                             CERTIFICATE OF SERVICE

       I hereby certify that on May 13, 2020, I electronically transmitted the attached

document to the Clerk of the Court using the Electronic Case Filing System for filing.

Based on the records currently on file in this case, the Clerk will transmit a Notice of

Electronic Filing to those registered participants of the ECF System.



                                   /s/ Stephen Stich
                                   Stephen Stich




                                                27
